Case 4:00-cr-00260-Y   Document 2390    Filed 03/02/07   Page 1 of 13   PageID 7034


                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 UNITED STATES OF AMERICA               §
                                        §
 VS.                                    §      CRIMINAL NO.4:00-CR-260-Y(8)
                                        §       (CIVIL NO.4:04-CV-346-Y)
 JOHN TURNER                            §

 ORDER PARTIALLY DENYING JOHN TURNER’S MOTION UNDER 28 U.S.C. §
 2255, SCHEDULING HEARING ON REMAINING CLAIM, AND APPOINTING COUNSEL

       Now pending before the Court is defendant John Turner’s motion

 under 28 U.S.C. § 2255 to vacate, set aside or correct sentence, as

 amended and supplemented, along with a memorandum in support of the

 amended motion, and a list of exhibits.           As directed by the Court,

 the government filed a combined response to the motion under § 2255

 and its amendment, accompanied by an appendix.1 Turner then filed

 a document labeled a “Traverse,” and later filed documents entitled

 “Undisputed Issues of Material Fact,” and a “Supplemental Brief.”

       Claims

       Turner claims that he received ineffective assistance of

 counsel at every stage of the proceedings, including at the plea

 and pre-trial process, at trial and sentencing, and on direct

 appeal, in the following particulars: (1) failure to advise Turner

 as to all facts and law relevant to his decision to plead not

 guilty; (2) failure to move to suppress evidence and failure to

 move to dismiss the indictment; (3) failure to investigate and


       1
        The government did not contest the timeliness of the filing of the amended
 motion under 28 U.S.C. § 2255, so the Court has treated the amended motion as
 relating back to the date of the filing of the original motion for limitations
 purposes. The original motion, constructively filed on May 3, 2004, was filed
 within one year of the issuance of the denial of Turner’s petition for writ of
 certiorari to the Supreme Court.
Case 4:00-cr-00260-Y    Document 2390        Filed 03/02/07    Page 2 of 13    PageID 7035


 present exculpatory evidence and testimony at trial and failure to

 object to the “unlawful admission” of evidence by the prosecution;

 (4) failure to advise him of the facts and law relevant to his

 right to testify; (5) failure to object to improper argument by the

 prosecution; (6) failure to present evidence material to his

 sentencing and failure to object to “unlawful, false, and unreli-

 able” evidence used to determine his sentence; (7) failure to move

 for   appropriate      downward       departure;     (8)     failure   of    appellate

 counsel to investigate or present the strongest issues for direct

 appeal, and to preserve viable issues for collateral review; (9)

 prejudice      resulting      from    the     cumulative      impact    of    multiple

 deficiencies during the pre-trial, plea, trial, sentencing, and

 direct appeal process;2 and (10) an actual conflict of interest

 adversely affecting each counsel’s performance.3

       Turner states his ineffective-assistance-of-counsel claims in

 the motion and restates them in the same manner in the amended

 motion. In the amended motion, although Turner also includes

 allegations supportive of these ten grounds for relief under the

 headings “Claims Number One [through] Three,” such allegations do

 not   appear    to    state    additional       separate     grounds    for    relief.

 Turner’s    separately        filed    44    page4    “memorandum      in    support,”


       2
        Numbered out of sequence by Turner as ground ten.
       3
        Numbered out of sequence by Turner as ground eleven.
       4
         Turner numbered the pages of the amended motion through 22, and began his
 memorandum with page number 23 and continued numbering the pages of that document
 to page 67.

                                             2
Case 4:00-cr-00260-Y   Document 2390   Filed 03/02/07    Page 3 of 13    PageID 7036


 although inclusive of some briefing, actually contains an identical

 restatement of much of the material listed in the amended motion,5

 and contains several pages that are duplicative of pages earlier in

 the document.6 In both his traverse and supplemental brief, Turner

 argues, under authority of United States v. Booker, 125 S.Ct. 738

 (2005), Blakely v. Washington, 542 U.S. 296 (2004), and Apprendi v.

 New Jersey, 539 U.S. 466 (2000), that his sentence was improperly

 increased    by   the   consideration      of   facts   not   charged    in   the

 indictment, submitted to a jury, or proved beyond a reasonable

 doubt.

       Overview

       Having carefully considered the § 2255 motion as amended and

 supplemented, the memorandum in support and exhibits, the govern-

 ment’s response and exhibits, the other filings, the applicable

 law, and the records of this case, the Court concludes that all of

 Turner’s grounds for relief under 28 U.S.C. § 2255, as amended and

 supplemented, save one, should be denied for the reasons stated in

 the government’s response, and as set forth herein.                    As to the

 claim of ineffective assistance of counsel based upon the allega-

 tion that counsel failed to advise Turner as to all facts and law

 relevant to his decision to plead not guilty, the Court will



       5
         Memorandum in Support at pages 33-35, 41,and 50-52 is identical to pages
 14-16, 7-8, and 9-13 of the Amended Motion to Vacate Sentence Pursuant to 28
 U.S.C. § 2255.
       6
        Memorandum in Support at pages 41-42 is repetitive of pages 33-35; and at
 pages 57-60 is repetitive of pages 41, and 50-52.

                                        3
Case 4:00-cr-00260-Y   Document 2390   Filed 03/02/07   Page 4 of 13   PageID 7037


 schedule a hearing on that issue only and, pursuant to Rule 8 of

 the Rules Governing Section 2255 Proceedings in the District

 Courts, the Court will appoint Turner counsel for the hearing.

       Analysis

       The    now-familiar,      two-pronged      standard      for review of

 ineffective-assistance-of-counsel claims was set forth by the

 Supreme Court in Strickland v. Washington, 466 U.S. 668 (1984):

       First, the defendant must show that counsel’s performance
       was deficient. This requires showing that counsel made
       errors so serious that counsel was not functioning as the
       ‘counsel’ guaranteed the defendant by the Sixth
       Amendment.   Second, the defendant must show that the
       deficient performance prejudiced the defense. This
       requires showing that counsel’s errors were so serious as
       to deprive the defendant of a fair trial, a trial whose
       result is reliable. Unless a defendant makes both
       showings, it cannot be said that the conviction or death
       sentence resulted from a breakdown in the adversary
       process that renders the result unreliable.7

 The burden is upon the defendant to show that his counsel’s

 representation fell below an objective standard of reasonableness

 by identifying acts or omissions of counsel “that are alleged not

 to have been the result of reasonable professional judgment.”8 A

 district court then determines whether, “in light of all the

 circumstances, the identified acts or omissions were outside the

 wide range of professionally competent assistance.”9 There is a

 strong presumption that the performance of counsel “falls within


       7
        Strickland, 466 U.S. at 687.
       8
        Id. at 690.
       9
        Id.

                                       4
Case 4:00-cr-00260-Y       Document 2390    Filed 03/02/07     Page 5 of 13    PageID 7038


 the wide range of reasonable professional assistance.”10 A defendant

 must    also       affirmatively      prove       prejudice   by    showing    that   a

 particular error of counsel actually had an adverse effect on the

 defense, an adverse effect being shown, in turn, by demonstrating

 a    “reasonable          probability      that,      but     for    the      counsel’s

 unprofessional errors, the result of the proceeding would have been

 different.”11        If a court can resolve the ineffectiveness inquiries

 on the basis of a lack of prejudice, it may do so.12

        With regard to the claim that counsel was ineffective for

 failing to file a motion to suppress (claim 2-first part), contrary

 to this allegation, counsel filed a motion to suppress, and argued

 the merits of the motion in a hearing before this Court held on

 February 2, 2001.           (Appendix to response to motion under 28 U.S.C.

 § 2255).         With regard to claim 2 (second part) through claim 7,

 alleging that counsel failed to move to dismiss the indictment,

 failed to investigate and present exculpatory evidence at trial,

 failed to object to admission of certain evidence, failure to

 object to improper argument, failed to present evidence material at

 his sentencing, failed to object to evidence at sentencing, and

 failed to move for downward departure, Turner has not submitted


       10
          United States v. Samuels, 59 F.3d 526, 529 (5th Cir. 1995); see also King
 v. Lynaugh, 868 F.2d 1400, 1405 (5th Cir.), cert den’d, 489 U.S. 1093 (1989).
        11
             Strickland, at 694 (general discussion at pp. 691-695).
        12
             Id. at 697.   The Supreme Court instructed:

        “[A] court need not determine whether counsel’s performance was
        deficient before examining the prejudice suffered by defendant as a
        result of the alleged deficiencies. The object of an ineffective
        [ness] claim is not to grade counsel’s performance. If it is easier
        to dispose of an ineffectiveness claim on the ground of lack of
        sufficient prejudice, which we expect will often be so, that course
        should be followed.”

                                               5
Case 4:00-cr-00260-Y   Document 2390    Filed 03/02/07   Page 6 of 13   PageID 7039


 facts to support these         allegations.      Conclusory allegations are

 not   sufficient      to   prove   claims   of   ineffective    assistance    of

 counsel.13

       Turner next contends that counsel failed to advise him of the

 facts and law relevant to his right to testify. Only a defendant,

 and not his counsel, can waive the well established right to

 testify.14 Such waiver must be knowing and voluntary.15 A defendant

 who argues that his attorney prevented him from testifying must

 still satisfy both prongs of Strickland.16 But Turner does not

 contend that he asked counsel if he could testify or that counsel

 expressly kept him from testifying, rather he alleges only that if

 he had known more, he would have likely testified. Thus, he has not

 alleged specific facts that counsel was deficient in preventing him

 from testifying.

       Alternatively, even assuming that Turner’s allegations satisfy

 the deficiency prong on this claim, Turner has not demonstrated

 prejudice. Turner’s allegation that he would have testified and



       13
          See Collier v. Cockrell, 300 F.3d 577, 587 (5th Cir.2002)("conclusory
 allegations of ineffective assistance of counsel do not raise a constitutional
 issue in a federal habeas proceeding")(quoting Miller v, Johnson, 200 F.3d 274,
 282 (5th Cir. 2000)(assertion that counsel “failed to preserve error,” with
 numerous citations to the record, rejected as conclusory)); see also Barnard v.
 Collins, 958 F.2d 634, 642 (5th Cir. 1992)(“In the absence of a specific showing
 of how these alleged errors and omissions were constitu-tionally deficient, and
 how the prejudiced his right to a fair trial, we [can find] no merit to these
 [claims].”)
       14
          United States v. Harris, 408 F.3d 186, 192 (5th Cir.), cert. den’d, 126
 S.Ct. 297 (2005), citing United States Mullins, 315 F.3d 449, 452 (5th Cir.
 2002), reh’g en banc den’d, 88 Fed. Appx. 53 (5th Cir. 2003), cert. den’d, 541
 U.S. 1031 (2004).
       15
            Id.
       16
        Id., citing Mullins, 315 F.3d at 452 and Sayre v. Anderson, 238 F.3d
 631, 634 (5th Cir.2001).

                                         6
Case 4:00-cr-00260-Y   Document 2390      Filed 03/02/07    Page 7 of 13    PageID 7040


 “directly rebutted the allegations of the indictment and the

 prosecution’s evidence,” does not satisfy the prejudice prong.17

 Turner does not state what he would have testified to, or how that

 testimony could have provided any reasonable probability that the

 outcome of the trial would have been different. Furthermore, Turner

 would have been subject to rigorous cross-examination regarding his

 testimony. Turner has not shown that he was prejudiced by not

 testifying.

        The   Strickland       analysis    applies      equally    to      claims   of

 ineffective     assistance      of   appellate       counsel.18   Satisfying       the

 prejudice prong of Strickland in connection with a claim of

 ineffective assistance by appellate counsel requires more than a

 mere    complaint     about   deficiencies      in    an   appellate      brief.   An

 appellate counsel is not required to present frivolous arguments on

 appeal, or even to present all non-frivolous points that could have

 been raised.19 To prevail on a claim of ineffective assistance by

 appellate counsel, a petitioner must identify with specificity all



        17
        See generally Sayre, 238 F.3d at 635 (“[W]e observe that [defendant]
 Sayre's self-serving conclusory statement that his testimony would have resulted
 in an acquittal, standing alone, falls far short of satisfying Strickland's
 prejudice element. Neither here nor below has Sayre alleged anything further.
 Sayre fails, as he did below, to explain what his testimony would have been.
 Thus, we have no idea how this testimony could have made a different outcome
 reasonably probable.”)
        18
        Amdaor v. Quarterman, 458 F.3d 397, 411 (5th Cir. 2006), petition for
 cert. filed (U.S. Jan. 14, 2007)(No.06-9036), citing Mayabb v. Johnson, 168 F.3d
 863, 869 (5th Cir.1999), cert. den’d, 528 U.S. 969 (1999)and Smith v. Robbins,
 528 U.S. 259, 285 (2000).
       19
          See Williams v. Collins, 16 F.3d 626, 635 (5th Cir.)(holding that a
 federal habeas petitioner's claim of ineffective assistance by appellate counsel
 failed to satisfy the prejudice prong of Strickland where all of the omitted
 grounds for relief on appeal raised by the petitioner were without merit), cert.
 den’d, 512 U.S. 1289 (1994); Ellis v. Lynaugh, 873 F.2d 830, 840 (5th Cir.
 1989)("The Constitution does not require appellate counsel to raise every
 non-frivolous ground that might be pressed on appeal")(citation omitted).

                                          7
Case 4:00-cr-00260-Y     Document 2390    Filed 03/02/07   Page 8 of 13   PageID 7041


 grounds for relief that he claims should have been included in his

 appellate brief.20

       Although Turner alleges that appellate counsel failed to

 present the strongest issues for appeal and failed to preserve

 issues for collateral review, he has not alleged any facts in

 support of this claim.             Turner has not alleged what appellate

 points should have been raised that would have likely caused a

 different outcome on direct appeal.21 Having failed to provide such

 specifics,        the   ineffective-assistance-on-appeal         ground    cannot

 succeed.

       Turner next contends that the cumulative impact of multiple

 deficiencies subjected him to ineffective assistance of counsel.

 By this claim, Turner appears to be seeking to invoke one of the

 situations in which the Supreme Court determined that prejudice

 will be presumed: when counsel “entirely fails to subject the

 prosecution’s case to meaningful adversarial testing.”22 In order

 to meet this “complete failure” standard, the attorney must be

 shown to have failed entirely to challenge the prosecution’s case,

 not just individual elements of it.23                Turner cannot make this



       20
        See Russell v. Lynaugh, 892 F.2d 1205, 1213 (5th Cir.1989)(holding that
 generalized complaints about the quality of an appellate brief do not satisfy the
 prejudice prong of the Strickland test), cert. denied, 501 U.S. 1259 (1991); see
 also Hamilton v. McCotter, 772 F.2d 171, 182 (5th Cir. 1985).
       21
          See Miller v. Johnson, 200 F.3d 274, 282 (5th Cir.), cert. den’d, 531 U.S.
 849 (2000).
       22
          United States v. Cronic, 466 U.S. 648, at 659-60 (1984)(noting prejudice
 also presumed when accused is denied counsel at critical stage of trial, or
 circumstances exist such that likelihood that any lawyer, even a fully competent
 one, could provide effective assistance is so small that prejudice must be
 presumed).
       23
            Bell v. Cone, 535 U.S. 685, 697-98 (2002).

                                           8
Case 4:00-cr-00260-Y       Document 2390    Filed 03/02/07      Page 9 of 13    PageID 7042


 showing, as review of the record reflects counsel’s strenuous

 efforts on Turner’s behalf, including but not limited to: filing a

 motion to suppress and arguing for suppression at hearing; filing

 a motion for severance; cross-examination of witnesses at trial;

 objections to key evidence at trial; filing of objections to the

 presentence         report;      and   arguing   for     leniency    for      Turner    at

 sentencing. (Feb. 2, 2001 Suppression Hearing Transcript; Trial

 Transcript (Tr.) Vol. 1, at 28-31; 38-39; 45-46; 114-117; 144-160;

 203-220; Tr. Vol. 2, at 50-71; Vol. 2 at 21, lines 12-19; 23-25;

 32-34; 43-45; December 10, 2001, Sentencing Hearing Transcript at

 4-6.) Turner has not shown that a combination of errors amounted to

 a constructive denial of his right to effective assistance of

 counsel.

        Turner’s last ground for ineffective assistance of counsel is

 the allegation that because counsel owed a duty to persons other

 than    Turner,       counsel     proceeded      under   an    actual    conflict       of

 interest.        "Under    the    Sixth   Amendment,      if    a   defendant     has   a

 constitutional right to counsel, he also has a corresponding right

 to representation that is free from any conflict of interest."24

 Such a claim of an actual conflict of interest is properly analyzed

 under the standard announced in Cuyler v. Sullivan, 446 U.S. 335

 (1980).25 In Cuyler, the Supreme Court held that to prevail on a

 claim of ineffective assistance based on counsel's conflict of

 interest, "a defendant who raised no objection at trial must


        24
        United States v. Vaquero, 997 F.2d 78, 89 (5th Cir.), citing Wood v.
 Georgia, 450 U.S. 261 (1981), cert. den’d, 510 U.S. 1016 (1993).
        25
             See United States v. Infante, 404 F.3d 376, 391 (5th Cir.2005).

                                             9
Case 4:00-cr-00260-Y       Document 2390       Filed 03/02/07   Page 10 of 13   PageID 7043


  demonstrate that an actual conflict of interest adversely affected

  his lawyer's performance."26 "An 'actual conflict' exists when

  defense counsel is compelled to compromise his or her duty to

  loyalty or zealous advocacy to the accused by choosing between or

  blending the divergent or competing interests of a former or

  current client."27 Turner has wholly failed to state any specifics

  of how counsel was burdened by an actual conflict between Turner’s

  interests and those of any former or current client. He has not

  even        attempted    to   meet     the     Cuyler     presumption-of-prejudice

  standard.        Turner’s     ineffective-assistance          claim   based    on   the

  alleged actual conflict of interest thus fails.

         Turner bases his supplemental claim regarding an alleged

  unconstitutional increase to his sentence based upon facts not

  proved to a jury upon the Supreme Court’s decisions in United

  States v. Booker, 543 U.S. 220 (2005), Blakely v. Washington, 542

  U.S. 296 (2004), and Apprendi v. New Jersey, 539 U.S. 466 (2000).

  But the Court of Appeals for the Fifth Circuit has expressly

  addressed and rejected the argument that Apprendi, Blakely or

  Booker apply to cases on collateral review:

         [I]t is clear that Booker has not been made retroactive
         to cases on collateral review by the Supreme Court. The
         Supreme Court did not so hold in Booker, nor has the
         Court done so in any case since Booker. The same is true
         with respect to Apprendi and Blakely. In fact, in Booker,
         the Court expressly held that both the Sixth Amendment
         holding and its remedial interpretation apply "to all
         cases on direct review." 125 S.Ct. at 769 (emphasis
         added). The Court could have, but did not, make any


         26
              Cuyler, 446 U.S. at 348.
         27
              Perillo v. Johnson, 205 F.3d 775, 781 (5th Cir.2000)(citations omitted).

                                               10
Case 4:00-cr-00260-Y      Document 2390    Filed 03/02/07   Page 11 of 13   PageID 7044


        reference to cases on collateral review. In addition,
        the Supreme Court has not rendered any decision or
        combination of decisions that, while not expressly making
        the rule of Apprendi, Blakely and Booker retroactive,
        "necessarily dictate[s] retroactivity" of that rule.
        Tyler, 533 U.S. at 666, To the contrary, the Supreme
        Court has strongly suggested that Apprendi and, by
        logical extension, Blakely and Booker do not apply
        retroactively on collateral review. See Schriro v.
        Summerlin, 542 U.S. 348(2004).28

  The Court of Appeals for the Fifth Circuit has also now subjected

  the Booker holding to the Teague v. Lane, 489 U.S. 288 (1989)

  three-part retroactivity analysis, and expressly held that “Booker

  does not apply retroactively on collateral review to an initial 28

  U.S.C. § 2255 motion.”29 Thus, Turner’s claim based upon Booker,

  Blakely, and Apprendi is not cognizable in a motion for collateral

  relief under § 2255.30

        Hearing

        Turner supports his first ineffective-assistance claim, that

  counsel failed to advise him as to all facts and law relevant to

  his decision to plead not guilty, with the assertion that counsel

  also failed to advise him that he could plead guilty with or

  without a plea agreement, that he could have proceeded to a bench

  trial on stipulated facts, and that if he entered a timely guilty

  plea, he could likely obtain a three-point sentence reduction under

  Sentencing Guideline § 3E1.1 for “acceptance of responsibility.”


        28
         In re Elwood, 408 F.3d 211, 213 (5th Cir. 2005)(analyzing whether Booker
  applies for purposes of a successive motion under 28 U.S.C. § 2255).
        29
             United States v. Gentry, 432 F.3d 600, 601 (5th Cir. 2005).
        30
         See United States v. Edwards, 442 F.3d 258, 268 (5th Cir.)(defendant’s
  request to amend motion for collateral relief to include Booker and Blakely
  claims foreclosed by Gentry and In re Elwood decisions), cert. den’d, 127 S.Ct.
  96 (2006).

                                            11
Case 4:00-cr-00260-Y   Document 2390     Filed 03/02/07    Page 12 of 13     PageID 7045


  Upon review of a motion under 28 U.S.C. § 2255, in the context of

  a not guilty plea, “an attorney’s failure to properly inform his

  client about his sentencing exposure may constitute ineffective

  assistance.”31 Turner argues that had he been found eligible for

  all three points, his sentence exposure would have been 151-188

  months, rather than the 210-262 months. A hearing on a claim for

  relief under § 2255 is required if sufficient facts are alleged to

  support a claim for relief “unless the motion and the files and

  records of the case conclusively show that the prisoner is entitled

  to no relief.”32     The records of this case do not conclusively show

  that this claim is without merit, and thus a hearing is required.

        Rule 8(c) of the Rules Governing Section 2255 Proceedings

  provides that if an evidentiary hearing is required, counsel shall

  be appointed for a movant who qualifies under 18 U.S.C. § 3006A.

  Based upon Turner’s present incarceration, the Court finds that he

  is financially unable to employ counsel, and that counsel shall be

  appointed    for     him   under     the    provisions     of   18       U.S.C.   §§

  3006A(a)(2)(B), and (b)-(d).         The Court therefore finds that Leigh

  Davis, 800 W. Weatherford, Fort Worth, Texas, 76102 should be

  appointed to represent Turner.

        Therefore, all claims for relief under 28 U.S.C. § 2255, as

  amended and supplemented [docket nos. 2167, 2192, and 2344], except

  for the claim 1 (ineffective assistance of counsel based upon the



        31
         United States v. Ridgeway, 321 F.3d 512, 514 (5th Cir. 2003)(citations
  omited).
        32
         United States v. Martinez, 181 F.3d 627, 628 (5th Cir. 1999); see also
  Streator v. United States, 367 F.2d 384, 385 (5th Cir. 1966) (citations omitted).

                                         12
Case 4:00-cr-00260-Y     Document 2390      Filed 03/02/07   Page 13 of 13   PageID 7046


  alleged failure of counsel to advise Turner as to all facts and law

  relevant to his decision to plead not guilty) are DENIED.

          Turner’s claim that his counsel was ineffective based upon the

  alleged failure of counsel to advise Turner as to all facts and law

  relevant to his decision to plead not guilty,33 is set for HEARING

  at 10:30 a.m. on April 11, 2007.

          Attorney Leigh Davis, 800 West Weatherford, Fort Worth, Texas

  is appointed to represent defendant John Turner at the April 11,

  2007,        hearing   and   throughout     the    remainder    of   the    Court's

  consideration of Turner’s motion under § 2255 until resolution of

  the remaining claim under § 2255 by further order of this Court.

          It is further ORDERED that the government shall prepare the

  paperwork and writs necessary to have defendant John Turner in

  attendance at the April 11, 2007, hearing.34

          SIGNED March 2, 2007.




        33
           Such haring will include consideration of the specific allegations that
  counsel failed to advise Turner that he could plead guilty with or without a plea
  agreement, that he could have proceeded to a bench trial on stipulated facts, and
  that if he entered a timely guilty plea, he could obtain a three-point sentence
  reduction under Sentencing Guideline § 3E1.1 for “acceptance of responsibility.”

          34
         As of March 2, 2007, it appears John Turner, register number 26394-177
  is presently housed at FCI-Fort Worth. See www.bop.gov (Last visited March 2,
  2007).

                                            13
